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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                   OMNIBUS ORDER FOR REMAINING POST-TRIAL
                          FILINGS AND PROCEEDINGS

       The schedule set forth below shall govern all remaining post-trial filings and proceedings

across all nine Defendants:

       1.     Combined Rule 29 and Rule 33 Motion for Defendants Minuta, Hackett,

              Moerschel, and Vallejo shall be due on or before February 24, 2023.            The

              Government’s response shall be due on or before March 24, 2023. Defendants’

              combined reply shall be due on or before April 3, 2023.

       2.     The Final Presentence Investigation Reports for all nine Defendants shall be due on

              or before April 21, 2023.       A combined sentencing memorandum for the

              Government and a sentencing memorandum for each Defendant shall be due on or

              before May 5, 2023. The Government’s memorandum shall include any amounts

              requested as restitution. Any reply memorandum of no more than 25 pages for the

              Government and 10 pages for each Defendant shall be filed by May 15, 2023.

              All counsel must endeavor to meet the Probation Office’s deadlines associated

              with preparing the Presentence Investigation Reports.

       3.     Trial I Defendants shall notify the court by May 19, 2023, whether they intend to

              present witness testimony at sentencing. Such notice shall include the name of the
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      witness and expected length of testimony. Any non-testimonial evidence not

      otherwise submitted with a sentencing memorandum shall be disclosed by this date.

4.    A hearing to resolve sentencing issues common to one or more Defendants will

      occur on May 24, 2023, at 9:30 a.m. in Courtroom 10.

5.    Sentencing as to Defendant Thomas Edward Caldwell shall take place on May 24,

      2023, at 1:30 p.m. in Courtroom 10.

6.    Sentencing as to Defendant Elmer Stewart Rhodes, III shall take place on May 25,

      2023, at 9:30 a.m. in Courtroom 10.

7.    Sentencing as to Defendant Kelly Meggs shall take place on May 25, 2023, at

      1:30 p.m. in Courtroom 10.

8.    Sentencing as to Defendant Jessica Watkins shall take place on May 26, 2023, at

      9:30 a.m. in Courtroom 10.

9.    Sentencing as to Defendant Kenneth Harrelson shall take place on May 26, 2023,

      at 1:30 p.m. in Courtroom 10.

10.   Trial II Defendants shall notify the court by May 26, 2023, whether they intend to

      present witness testimony at sentencing. Such notice shall include the name of the

      witness and expected length of testimony. Any non-testimonial evidence not

      otherwise attached to a sentencing memorandum shall be disclosed by this date.

11.   Sentencing as to Defendant Roberto A. Minuta shall take place on June 1, 2023, at

      9:30 a.m. in Courtroom 10.

12.   Sentencing as to Defendant Edward Vallejo shall take place on June 1, 2023, at

      1:30 p.m. in Courtroom 10.




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      13.    Sentencing as to Defendant David Moerschel shall take place on June 2, 2023, at

             9:30 a.m. in Courtroom 10.

      14.    Sentencing as to Defendant Joseph Hackett shall take place on June 2, 2023, at

             1:30 p.m. in Courtroom 10.




                                                       Amit P. Mehta
Date: February 1, 2022                          United States District Court Judge




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